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 1                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 2                                       SAN JOSE DIVISION

 3   FEDERAL TRADE COMMISSION,

 4                                  Plaintiff,                 Case No. 5:22-cv-04325-EJD

 5         vs.

 6   META PLATFORMS, INC., et al
                                                              JOINT STIPULATION AND [PROPOSED]
 7                                  Defendants.               ORDER RE: TEMPORARY
 8                                                            RESTRAINING ORDER
                                                              (CIVIL LOCAL RULE 7-12)
 9

10               In light of the enforcement action the Federal Trade Commission (“FTC”) filed on July

11      27, 2022, seeking to enjoin the proposed transaction of Meta Platforms, Inc. (“Meta”) and Within

12      Unlimited, Inc. (“Within”) (the “Proposed Transaction”), Meta, Within, and the FTC hereby

13      stipulate to a Temporary Restraining Order in federal district court stating that:

14         a. Meta and Within shall not close or consummate the Proposed Transaction until after

15               11:59 PM Eastern Time on December 31, 2022, or until the first (1st) business day after

16               the District Court rules on the FTC’s request for a preliminary injunction pursuant to

17               Section 13(b) of the Federal Trade Commission Act, whichever occurs earlier in time;

18               and

19         b. In connection with the paragraph immediately above, Meta and Within shall take any and

20               all reasonable and practicable steps to prevent any of their officers, directors, domestic or

21               foreign agents, divisions, subsidiaries, affiliates, partnerships, or joint ventures from

22               closing or consummating, directly or indirectly, the Proposed Transaction; and

23         c. In computing any period of time specified in this attachment, the day of the act, event, or

24               default that triggers the period shall be excluded. The term “business day” as used in this

25               attachment refers to any day that is not a Saturday, Sunday, or federal holiday.

26               The Parties jointly request the issuance of the stipulated Temporary Restraining Order,

27      noting that pursuant to 15 U.S.C. §53(b)(2), should the FTC fail to file an administrative

28      complaint in this matter within twenty (20) days after this stipulation is so ordered, this


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 1      stipulation and the corresponding Temporary Restraining Order shall expire automatically and be

 2      of no further force and effect.

 3              The Parties further request a scheduling conference before this Court during the week of

 4      August 8, 2022, or another convenient time for the Court as soon as possible, to discuss timing

 5      for the Preliminary Injunction hearing. Pursuant to this stipulation, the Parties jointly request

 6      that the Preliminary Injunction hearing and related decision issued by the Court occur before

 7      December 31, 2022 – the date upon which the Temporary Restraining Order stipulated to herein

 8      expires.

 9              In stipulating to a Temporary Restraining Order, Meta, Within, and the FTC do not waive

10      any objections, arguments, or protections, and otherwise expressly reserve all rights.

11      IT IS SO STIPULATED, through Counsel of Record.

12   Date: August 4, 2022

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     JOINT STIPULATION AND [PROPOSED] ORDER RE: TEMPORARY RESTRAINING ORDER
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13                                                       Counsel for Defendant Within Unlimited, Inc.
14
                                         FILER’S ATTESTATION
15

16          I, Abby Dennis, am the ECF User whose ID and password are being used to file the

17   foregoing document. In compliance with Civil Local Rule 5-1(h)(3), I attest that concurrence in this
18   filing has been obtained from the other signatories above.
19
                                                      By: /s/ Abby Dennis
20

21
                                           [PROPOSED] ORDER
22

23          PURSUANT TO STIPULATION, IT IS SO ORDERED
24   The Parties are ordered to appear for a remote Case Management Conference on 8/15/2022
     at 10:00 a.m.
25

26                 August 5 2022
     Dated: _______________,                      ___________________________________
                                                  Honorable Edward J. Davila
27                                                United States District Judge
28                                                Northern District of California

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